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                              UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA

                                                   ***
     UNITED STATES OF AMERICA,

                     Plaintiff,

                         vs
                                                      Case No. 3:21-CR-00027-3-CAR-CHW
              ANTHONY COLON,
                    Defendant.



                                  ORDER APPOINTING COUNSEL

          Upon consideration of the above-named defendant's request for appointment of legal
  counsel, and upon review of the Financial Affidavit submitted, the undersigned has determined that
  the defendant is financially unable to obtain adequate legal representation, requiring the Court to
  provide counsel pursuant to the provisions of the Criminal Justice Act of 1964. 18 U.S.C. § 3006A
  et seq.

        Accordingly, Kamal Ghali is appointed to represent the legal interests of the
  defendant.

          Pursuant to 28 U.S.C. § 1827, the Administrative Office of the United States Courts
  tests and certifies English to Spanish interpreters qualified to serve in the United States district
  courts. When there are no certified interpreters reasonably available, the Clerk secures the services
  of otherwise qualified interpreters as approved by the court.

         It is the responsibility of defense attorneys in criminal cases, whether retained or
  court appointed counsel, to notify the court of the need for an interpreter before each conference,
  hearing or trial. Specifically, the defense counsel will either telephone or email the courtroom
  deputy for the magistrate judge or district judge who will be conducting the proceeding. This
  notice must be given to the courtroom deputy at least 48 hours in advance of any hearings and at
  least 30 days in advance of trial. Defense counsel should provide substantial additional notice if the
  non-English speaking defendant speaks a language other than Spanish.

        Counsel is advised not to file motions for appointment of interpreters.

        SO ORDERED AND DIRECTED July 27, 2021.

                                                    s/ Charles H Weigle
                                                    U. S. MAGISTRATE JUDGE




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